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AO 242 (Rev. 09/17) Petition fora Writ of Habeas Corpus Under 28 U.S.C. § 2241

UNITED STATES DISTRICT COURT TRRTTTL J ID)

for the |

DEC - 8 2023

{ACKLER
BONN ue Feet Court

elitioner

Vv.

By Deputy Clerk

Case No.

(Supplied by Clerk of Court)

—
Warden Jess Dunn C.¢. CV 23-414-RaAyW

(name of warden or authorized person having custody of petitioner)

Nam et et ee ee”

PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241

Personal Information

l. (a) Your fullname: Michael S. Hanson

(b) Other names you have used: N/A

2. Place of confinement:

(a) Name of institution: Jess Dunn Correctional Center

(b) Address: 601 South 124th Street West

Taft OK 74463
(c) Your identification number: 1000153

3. Are you currently being held on orders by:
(Federal authorities © State authorities C1 Other - explain:
State of Oklahoma
tt Are you currently:
CIA pretrial detainee (waiting for trial on criminal charges)
Serving a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime

If you are currently serving a sentence, provide:
(a) Name and location of court that sentenced you: _ District Court Of Oklahoma

320 Robert S Kerr Ave, Oklahoma City, OK 73102

(b) Docket number of criminal case: CF-2022-1542 / CF-2022-465

(c) Date of sentencing: March 15, 2023

Being held on an immigration charge
Other (explain): NIA

Decision or Action You Are Challenging

5. What are you challenging in this petition:
(How your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
revocation or calculation of good time credits)
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O Pretrial detention

O Immigration detention

ODetainer

@ The validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
maximum or improperly calculated under the sentencing guidelines)

ODisciplinary proceedings

Other (explain): N/A

6. Provide more information about the decision or action you are challenging:
(a) Name and location of the agency or court: _ District Court of Oklahoma County, 320 Robert S Kerr Ave

Oklahoma City, OK 73102

(b) Docket number, case number, or opinion number: CF-2022-1542
(c) Decision or action you are challenging (er disciplinary proceedings, specify the penalties imposed):
No evidence by law of the Racketerring Charge as Defined by Law

(d) Date of the decision or action: March 15, 2023

Your Earlier Challenges of the Decision or Action

7. First appeal

Did you appeal the decision, file a grievance, or seek an administrative remedy?

MYes ONo

(a) If “Yes,” provide:
(1) Name of the authority, agency, or court: District Court of Oklahoma
320 Robert S Kerr Ave, Oklahoma City, OK 73102
(2) Date of filing: 9/29/23
(3) Docket number, case number, or opinion number: CF-2022-1542
(4) Result: DENIED

(5) Date ofresult: 10/31/2023

(6) Issues raised: See Attached Motion (All Points on the Motion was Brought Up)

(b) If you answered “No,” explain why you did not appeal: N/A

8, Second appeal

After the first appeal, did you file a second appeal to a higher authority, agency, or court?
Yes No
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10.

(a) If “Yes,” provide:
(1) Name of the authority, agency, or court: N/A

(2) Date of filing:

(3) Docket number, case number, or opinion number: NIA

(4) Result! N/A

(5) Date of result:
(6) Issues raised: N/A

(b) If you answered “No,” explain why you did not file a second appeal: N/A

Third appeal
After the second appeal, did you file a third appeal to a higher authority, agency, or court?
Yes No
(a) If “Yes,” provide:
(1) Name of the authority, agency, or court: N/A

(2) Date of filing:

(3) Docket number, case number, or opinion number: N/A
(4) Result! NIA

(5) Date of resuit:

(6) Issues raised: N/A

(b) If you answered “No,” explain why you did not file a third appeal: N/A

Motion under 28 U.S.C. § 2255

in this petition, are you challenging the validity of your conviction or sentence as imposed?

MYes ONo

If “Yes,” answer the following:

(a) Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
Yes No
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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

11.

(b)

(c)

If “Yes,” provide:
(1) Name of court: N/A

(2) Case number:

(3) Date of filing:

(4) Result: N/A

(5) Date of result:

(6) Issues raised: N/A

Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
seeking permission to file a second or successive Section 2255 motion to challenge this conviction or
sentence?

GYes & No

Lf “Yes,” provide:

(1) Name of court: N/A

(2) Case number:

(3) Date of filing:

(4) Result: N/A

(5) Date of result:
(6) Issues raised: N/A

Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your
conviction or sentence: ITDOES NOT DEAL WITH JUST INEFFECTIVE COUNSEL

Appeals of immigration proceedings
Does this case concern immigration proceedings?

Yes

(a)
(b)
(c)

No
If “Yes,” provide:
Date you were taken into immigration custody:
Date of the removal or reinstatement order:
Did you file an appeal with the Board of Immigration Appeals?
Yes No
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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 224]

If “Yes,” provide:

(1) Date of filing:

(2) Case number: N/A
(3) Result: N/A

(4) Date of result:

(5) Issues raised: N/A

(d) Did you appeal the decision to the United States Court of Appeals?
Yes No
If “Yes,” provide:
(1) Name of court: N/A

(2) Date of filing:

(3) Case number:

(4) Result: N/A

(5) Date of result:
(6) Issues raised: N/A

12, Other appeals
Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
raised in this petition?
Yes #INo
lf “Yes,” provide:
(a} Kind of petition, motion, or application: JUST THE ONE
(b) Name of the authority, agency, or court: —_

(c) Date of filing:

(d) Docket number, case number, or opinion number:
(e) Result: N/A

(f} Date of result:

(g) Issues raised: N/A

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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

Grounds for Your Challenge in This Petition

13. State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
facts supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE: Ineffective Counsel

(a) Supporting facts (Be brief. Do not cite cases or law.):
Def. repeatedly told counsel he did not want to take the plea deal. Def. was coerced into taking the plea. Def. was

deprived of establishing important mitigating circumstances, he was not afforded the opportunity to present
testimony to the jury. AG encouraged def. counsel to get def. to take plea so he would get a “special case.
Counsel refused to take the case to trial because “when | took this case you had fess charges." Def. still to this
day does not have any discovery from the case

(b) Did you present Ground One in all appeals that were available to you?

MYes CINo

GROUND TWO: Aberrant Behavior

(a) Supporting facts (Be brief. Do not cite cases or law.):

This mitigating factor is applicable because the def. had committed these charges, all relative conduct, due to a
gambling addiction that was beyond his control and not allowed to be spoken about in court. This act can be
shown to have been wildly out of character for the def. Def's family wanted to send him to an inpatient rehab
facility that was known to work with courts for his gambling addicition, depression and suicidal thoughts. Instead
of this route the AG refused and wanted a bond increase.

(b) Did you present Ground Two in all appeals that were available to you?

MYes ONo

GROUND THREE: Def. Present Health and Family Circumstances

(a) Supporting facts (Be brief. Do not cite cases or law):
Def. was hit by a drunk driver 15 yrs ago and had both ankles crushed, he is required to wear special braces so

he can walk but the prison will not allow him to have them. He aiso has Trauma Induced Emphysema and has
dead spots in his lungs. He has Asthma and lots of breathing problems, ADHD, Depression and suicidal
ideations. Def. almost died while in custody, he had been asking for help for 5 months before he collapsed and

they rushed him to the ER with a ruptured gallbladder and he was septic.

(b) Did you present Ground Three in all appeals that were available to you?
MYes CINo
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GROUND FOUR: This case tumed political

(a) Supporting facts (Be brief. Do not cite cases or law.):

AG O'Conner went to TV saying “he was using Mr. Hanson and would make an example out of him" One of the
victim's made a big show of Social Media that he had made campaign contributions to the AG and said that it
would "ensure the case went the way he wanted it to go.”

(b) Did you present Ground Four in all appeals that were available to you?
@Yes ONo

14. If there are any grounds that you did not present in all appeals that were available to you, explain why you did
not: None

Request for Relief

15. State exactly what you want the court todo: Dismiss the Racketeering Charge, or remand it back to the sentencing
court. There was NO evidence as stated by law that allowed the Def. to be charged with this Racketeering charge. Please
see attached motion for detailed information that could not be submitted above

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Declaration Under Penalty Of Perjury

If you are incarcerated, on what date did you place this petition in the prison mail system:
December 5, 2023

I declare under penalty of perjury that I am the petitioner, I have read this petition or had it read to me, and the
information in this petition is true and correct. I understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.

Date: {2 { 4 ( rs [Witllosk /

Signature of Attorney or other authorized person, if any
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IN THE DISTRICT COURT OF
OKLAHOMA COUNTY
STATE OF OKLAHOMA

STATE OF OKLAHOMA CASE NO: CF-2022-1542

Vv
MICHAEL S. HANSON, JR

MOTION FOR REDUCTION IN SENTENCE/
PROVISIONAL RELEASE

Comes now, Michael Hanson, Jr., pro se litigant, housed at Jess Dunn
Correctional Center in Taft, would like to ask this Honorable Court to
consider this pro se motion for his early Release.

On March 15, 2023, Mr. Hanson, the defendant, was sentenced to 20
years after agreeing to a plea deal in court that he did not comprehend and
that he was not aware of the repercussions of this lengthy deal. Mr. Hanson
brings the following points to the court’s attention and would like to
humbly ask the court for a Reduction in Sentence, Modification of Sentence
and or Provisional Release.

POINT 1: INEFFECTIVE COUNSEL

The defendant, on more than one occasion, told his counsel that he
did not want to take the plea offer. Mr. Hanson feels he was coerced by his
counsel into taking the plea deal because the defendant had explicitly told
his counsel he did not want to take the deal. We believe counsel for the
defendant was effectively deprived of establishing an important mitigating
circumstance when he was not afforded the opportunity to present
testimony to the jury during the sentencing portions of the proceedings.
Counsel told Mr. Hanson that he “had never worked with the AG and
needed to get in good with him.” The AG encouraged counsel to get Mr.
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Hanson to take the plea and he would get a “special” case. Counsel would
NOT present evidence of Mr. Hanson’s gambling addiction, which got him
into this legal trouble. Counsel also refused to take the case to trail, stating
that “when I took this case you had less charges.” Counsel also to stated too
Mr. Hanson that if he “ever heard from your wife again, I will take myself
off your case.” Counsel would not submit evidence of Mr. Hanson’s
gambling addiction to the court. Counsel for Mr. Hanson refused to go to
trial, he told Mr. Hanson and his family that this was a “good deal for me
and you” and if he did not take the deal that he “would recuse himself from
the case.” Mr. Hanson’s family even offered counsel more money to take to
it trial, but he refused. Mr. Hanson’s family also presented to counsel that if
he could get a less sentence, the family would be willing to pay the
restitution. Counsel never presented this to the AG or when any further
with it. Counsel also kept stalling with discovery and the judge admonished
the Assistant AG in court and told them to hand it over. Mr. Hanson, to this
day, has still not had any discovery presented to him. The family will be
filing a complaint for ineffective counsel with the State Bar against counsel
in this case.

See...https://www.law.cornell.edu/wex/ineffective assistance of counsel
#:~:text=To%20prove%20ineffective%2 Oassistance%20o0f, proceeding%20

would%20have%20been%20 Under the Sixth Amendment of
the United States Constitution, it guarantees the right to effective
assistance of counsel to defendants in criminal proceedings.

To prove ineffective assistance of counsel, a defendant must
show:

« That their trial lawyer's conduct fell below an “objective
standard of reasonableness" and,

- "“areasonable probability that, but for counsel's
unprofessional errors,” the outcome of the criminal
proceeding would have been different.

assistanc -of-counsel The assistance of counsel “is one of the
safeguards of the Sixth Amendment deemed necessary to insure
fundamental human rights of life and liberty. ... The Sixth
Amendment stands as a constant admonition that if the
constitutional safeguards it provides be lost, justice will not ‘still
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be done.” A frequent ineffective assistance complaint is that the
defense attorney did not obtain pretrial discovery. This is an
easy issue for the prosecutor to help avoid simply by providing
discovery as part of the case’s preparation, regardless of whether
a motion has been filed.

POINT 2: ABERRANT BEHAVIOR

This mitigating factor is applicable because the defendant had
committed these charges, all relative conduct, due to a gambling addiction
that was beyond his control and not allowed to be spoken about in court.
This act can be shown to have been wildly out of character with Mr.
Hanson’s otherwise law-abiding life. Mr. Hanson’s family wanted to send
him to a lockdown, in-patient rehab facility that was known to work with
courts for his gambling addiction, depression, and suicidal thoughts.
Instead of assisting in the matter (because this is an addiction) the AG
refused and instead went to the courts to get a bond increase. Mr. Hanson
and his family have performed years of volunteer work in the animal rescue
community in Oklahoma.

detail?P ai GL 1D=%C2%A75Ko, 20 ‘0 REQUIREMENTS. —The court may
depart downward under this policy statement only if the
defendant committed a single criminal occurrence or single
criminal transaction that (1) was committed without significant
planning; (2) was of limited duration; and (3) represents a
marked deviation by the defendant from an otherwise law-
abiding life.

See https: //www.|sd.Jaw/define/aberrant-behavior Aberrant behavior

refers to a single act of unplanned or thoughtless criminal
behavior. It is not a pattern of behavior, but rather a one-time
occurrence. Some courts may give a more lenient sentence for
aberrant behavior, as it is not considered a typical or habitual
action. Many courts have recognized that aberrant behavior can
be used as a reason for a more lenient sentence.

See https://www.ojp.gov/pdffiles1/nij/203197.pdf Report on Gambling
Addiction

See https://www.judges.org/news-and-info/how-to-sentence-someone-with-a-
gambling-addiction/ Why create a gambling treatment court?

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e Because it can save lives. Suicide rates for problem
gamblers approach 50 percent.

e Because it can save money. Instead of being
incarcerated, problem gamblers can work during their
probation.

e Because they can also pay restitution to victims of theft,
which is a common crime among problem gamblers.

It’s like a drug-treatment court... In a gambling treatment
diversion court, there is an application, a contract and full
transparency. Substance abuse often co-occurs with
gambling addictions, so drug testing is also considered
essential.

See http://www.clarkcountycourts.us/res/specialty-

courts/GTDC _Flyer.pdf Gambling Treatment Diversion Court is a
court supervised comprehensive outpatient treatment program
for defendants in the criminal justice system with gambling
problems and other addictive behaviors. Treatment includes
individual and group counseling focused on problem gambling,
substance abuse and mental health counseling, wellness
education, peer support and drug and alcohol testing as
indicated. Additional services include residential treatment,
intensive outpatient treatment, anger management and impulse
control groups, gender specific and trauma treatment, grief &
loss treatment, treatment targeting criminal behavior, and
family therapy

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POINT 3: DEFENDANTS PRESENT HEALTH
AND FAMILY CIRCUMSTANCES

The defendants’ physical health has been deteriorating since being
incarcerated. The defendant is not a risk to the community. Mr. Hanson
was hit by a drunk driver 15 years ago and had two crushed ankles. He has
trouble moving them and is required to wear special braces so he can walk.
Today he struggles to walk in his daily living because the prison will not
allow him to have his braces. Due to this accident, Mr. Hanson has Trauma
Induced Emphysema and has “dead spots in his lungs.” He has Asthma and
lots of breathing problems. Mr. Hanson suffers from ADHD, depression,
and suicidal ideations. While in the county jail, Mr. Hanson almost lost his
life. He had been asking for medical help for 5 months before the staff had
to pick Mr. Hanson up off his cell floor and rush him to the hospital. His
gallbladder had ruptured, and he was septic. Mr. Hanson has lost 65
pounds since his incarceration. Mr. Hanson fears this 20-year sentence is
going to be a death sentence for him. Mr. Hanson is very family oriented
and has stayed close to his family. Mr. Hanson’s wife, Jessica, has several
Autoimmune diseases and cannot live alone, since Mr. Hanson has been
incarcerated, she has been forced to move to Florida to stay with family.
Mr. Hanson needs to be there to help in the care of his wife.

POINT 4: MR. HANSON IS NOT A DANGER
TO THE PUBLIC

Mr. Hanson is not a violent offender and is not a risk to the public.
Validated risk assessment instruments are currently used for offenders
under supervision or in prison that determine if an offender is likely to re-
offend. Based on the Correctional Integrated Needs Assessment System,
Mr. Hanson’s risk of Recidivism is minimum. This assessment takes into
consideration such as prior offenses, substance abuse and age. Risk
assessment coupled with effective community supervision and services can
help ensure public safety and support successful reentry into the
community for released offenders. He has tried to complete classes and
programs while incarcerated but has been denied at every turn. He was told
that he “is not eligible” or that he “was too late for the class.” He has
managed to get on the waiting list for some classes. There is no mental
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health counseling for his depression and suicidal ideations nor is there any
help for his gambling addiction. In fact, where Mr. Hanson is housed, they
hold “gambling tournaments,” hence no rehabilitation for his addiction.
Mr. Hanson is working on achieving Level 4 good behavior status despite
the temptations that are surrounding him.

See.. https: //www.criminon.org/where-we-work/united-
states/oklahoma/#:~:text=Recidivism%20Rates%20in%20O0klahoma&text
=According%20to%20federal%20data%2C%20Oklahoma, prisoners%20wh
0%20¢0%20through%20it Oklahoma criminal reform programs
vary in scope and the type of services offered to help reform and
rehabilitate offenders. From community rodeos for inmates to
educational programs within prisons in Oklahoma, the state
offers a variety of services but could benefit from focusing more
intently on the following:

« substance abuse programs for offenders who misuse drugs
and alcohol or who suffer from addiction

* vocational training and job skills programs to help
offenders learn valuable trades for post-incarceration

¢ in-prison programs that teach life skills and successful
coping strategies to help offenders live crime-free lives

Alternatives to Incarceration in Oklahoma

While every state provides some degree of incarceration
alternatives, Oklahoma’s current offering of alternatives to
incarceration should be expanded. If non-incarceration
rehabilitation programs are expanded, such programs
(especially educational programs for prisoners in Oklahoma)
will provide better services for Oklahoma offenders and help
them overcome the criminal inclinations that brought them to
prison in the first place.

Looking to the future, Oklahoma should attempt to expand
incarceration alternatives, reduce reliance on private prisons,
and reduce recidivism by offering evidence-based criminal
reform programs.

POINT 5: THE CASE TURNED POLITICAL
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As previously stated, Mr. Hanson had Ineffective Counsel, and these
are some of the things that needed to be mentioned during the course of the
case that were not brought up.

e The AG in this case, John O’Conner, went on television saying
that he “was using Mr. Hanson and would make an example out
of him.”

e One of the victim’s made a big show on Facebook that he had
made campaign contributions to the AG and said that it would
“ensure the case went the way he wanted it to go.”

e Mrs. Hanson was trying to get her husband into a lockdown
facility for his gambling addiction, and instead of helping the
AG went to court to get the bond raised because he found out
that Mrs. Hanson was selling everything they owned so she
could get her husband out!

See... https://kfor.com/news/local/oklahoma-attorney-general-files-
embezzlement-charges-against-contractor/ “When consumers hire and
pay an individual or business to do work, they are entitled to
have that work done well,” O’Connor said. “My Consumer
Protection Unit works diligently to hold contractors like Michael
Hanson accountable for their fraudulent conduct. I will not
tolerate those who try to swindle Oklahomans out of their hard-
earned money.”

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a8, John Anderson
Mar 15 -@
YES, Got the SOB ©... Sure cost me a ton, but
payback is a bitch _»

rd
PU ECL

newsbreak.com
Oklahoma contractor pleads guilty to
racketeering, embezzlement - NewsBreak

O Like Q Comment © Share
28, John Anderson
John Anderson on Oct 1, 2022-8
sep 16, 2022-0 Finally this crook will face justice {
YES /.,. Thank you all that have continued to
step forward and filed your complaints against

Michael Hanson, Leaders Construction Edmond

newsbreak.com
Charges continue stacking up against
Oklahoma contractor - NewsBreak

2 shares

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01

a] ALL THINGS EDMOND
John Anderson «Ape a, 2027 - B
The crooks are coming out of their closets__..

I got scammed tor $52,000+ by Mike Hanson st
Leaders Construction out of Edmond. He wars
contracted to build a shop, pad, sidewalks,
fencing and a few more items....Damn prick will
burn in hell, IF YOU OR ANYONE YOU KNOW
HAD THIS GUY RIP YOU OFF, please PM me, |
have some important information for you!
UPDATE: He got out on BAIL... Watch out for
him trying to make a quick buck off you»

€ ALL THINGS EDMOND
John Anderson - Apr 10, 2022 =

Thief @9 ap a

Are you a victim of Michael Hanson at Leaders

Construction LLC ? If you are not one af the

nine victims and you have been a theft victim of
Mike, please PM me for information on helping
hold him accountable along with his other 9
Felony Embezzlement charges!

same experience with Michael Hanson, please
contact The State Attorney Generals affice! We
were able to bring our original complaint from 9
of us to 21 Felonies because of articles like this

(Ter Vea)

Newsbreak.com

contractor faces nine charges for

Os

Stealing thousands from customers - News...

SM ALL THINGS EDMOND at
John Anderson « Sep 20, 2022 - &

If you area victim of Michael Hanson, Leaders

Construction, please contact the Attorney

General in this post!

' oag.0k.gov

Additional Embezzlement

Charges, RICO Charge Filed
Against Oklahoma Contractor...

b Like Q Comment Y Send

heasteatcom

Oklahoma Attorney General files additional
embezzlement charges against contractor a...

OF? Jcomments

POINT 6: HOME PLAN
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Mr. Hanson has an excellent family support system. The plan is for
Mr. Hanson to go to the treatment program in Ft. Lauderdale, FL and then
return north with Mrs. Hanson and her family upon his release. Mr.
Hanson will have a stable, secure residence to be released to. Mrs. Hanson
makes enough money to support both herself and her husband through her
career for the short time they remain with her family. Mr. Hanson will have
multiple job opportunities to choose from through Mrs. Hanson and her
family’s community relationships.

POINT 7: THERE WAS NO EVIDENCE OF THE CHARGE OF
RACKETEERING AS DEFINED BY LAW

There is absolutely no evidence of the charge of Racketeering that Mr.
Hanson was charged with. Mr. Hanson brought this up to his counsel and
was told that “it was a trumped-up charge” and that the AG and the court
knew that is was! But, yet and still, nothing was done to get this charge
dismissed. Racketeering is a unique white-collar crime in the sense that it is
based on an offense that is already illegal, such as:

Robbery

Bribery

Prostitution

False Imprisonment

Dealing in unlawful weapons or firearms
Drug dealing

Child Pornography

The issue that raises these crimes to the level of racketeering is when they
are accomplished — or attempted — in the context of an organized crime
ring and larger scheme.

See.. https: //www.goldsteinhilley.com/white-collar-crimes/rico-

racketeering/

Texas Racketeering Laws

In the Lone Star State, racketeering offenses are generally
prosecuted under the offense of engaging in organized criminal
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activity established in Texas Penal Code §71.02. Under this
statute, it is illegal for a person to commit or conspirer to
commit certain crimes with the intent to establish, maintain, or
participate in a combination or in the profits of a combination or
as a member of a criminal street gang.

A combination is defined as being three or more persons who
collaborate in carrying on criminal activities, although the
participants may not know each other’s identity, membership in
the combination may change from time to time, and the
participants may stand in a wholesaler-retailer or other arm’s-
length relationship in illicit distribution operations.

Participants may be charged with engaging in organized criminal
activity if they committed or conspired to commit such crimes
as, but not limited to the following:

Murder;

Capital murder;

Arson;

Aggravated robbery;

Robbery;

Burglary;

Aggravated kidnapping;

Kidnapping;

Aggravated assault;

Aggravated sexual assault;

Sexual assault;

Continuous abuse of young child or children;
Solicitation of a minor;

Forgery;

Deadly conduct;

Burglary of a motor vehicle; and
Unauthorized use of a motor vehicle.

Any engaging in organized criminal activity offense is punished
one category higher than the most serious offense that was
committed, meaning that committing a third-degree felony will
lead to second-degree felony penalties. If the most serious
offense is a Class A misdemeanor, then the offense is classified
as a state jail felony.
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There were originally two charges of Racketerring, but they removed one
because they admitted that they could not prove it but because they were
feeling so much pressure from two of the victims (one being Mr. Anderson
and the other was a retired employee of the Attorney General’s office) they
said they had to leave at least ONE charge. How can you charge someone
with a crime and not be able to prove it? Much less that it does not fit the
guidelines for that charge. This charge should be dismissed immediately.

CONCLUSION

We pray that this Honorable Court will see that Mr. Hanson deserves
a second chance at living his life. He is a reformed man, who takes
responsibility for his actions, but feels that this 20-year sentence is a death
sentence that he would have never agreed to if he had effective counsel that
allowed him to mention the points above. Mr. Hanson prays this Honorable
Court will reduce his sentence and defendant will agree to any mandatory
supervision that the court deems necessary. He agrees to any and all
stipulations that the court wishes to impose and home confinement
requires searches and curfew checks that will be imposed on him.
Defendant realizes that willful non-compliance or a violation of any of the
set conditions may result in modification of the sentence or revocation by
the court.

Respectfully submitted this 23% day of September, 2023

Michael Hanson, JR
#1000153

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